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    1    STEVEN H. HANEY fSBN 121980)
         HANEY & YOUNG LLP
    2    1055 West Seventh Street, Suite 1950
         Los Angeles, California 90017
    3    Telephone: (213) 228-6500
         Facsimile: (213) 228-6501
    4    Email:      shaneyRlianeyyoung.com
                     gyoung@haneyyoung.com
    5
         Attorneys _(Substituting In) for Plaintiff
    6    TOM
    7
    8                         UNITED STATES DISTRICT COURT
    9                        CENTRAL DISTRICT OF CALIFORNIA
   10
   11    TOM SCHMIDT, an individual,                       CASE NO.: 2:16-cv-09368-DSF-AG
   12          Plaintiff,                                  DECLARATION OF STEVEN H.
                                                           HANEY RE WITHDRAWAL OF
   13    VS.                                               COUNSEL
   14    SHERRI BALDY an individual; and
         DOES I through fo, inclusive,
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               Defendants.
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                                       DECL. OF STEVEN H. HANEY
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     1                        DECLARATION OF STEVEN H. HANEY
    2           I, Steven H. Haney, declare as follows:
    3           1.      I am an attorney licensed to practice before all courts in the State of
    4    California and a partner in the law firm of Haney & Young, LLP, new counsel
    5    substituting in as attorney of record for Plaintiff Tom Schmidt ("Schmidt") and
    6    Cross-Defendant Heather Valentin ("Valentin") in the instant litigation. I have
    7    personal knowledge of the following facts and if called as a witness, could and
    8    would testify competently thereto under oath:
    9          2.       Mr. Schmidt's and Ms. Valentin's contact information is as follows:
   10    Tom Schmidt - 4117 N. 45th Place, Apt. 4, Phoenix, AZ 85018, and Heather
   11    Valentin, 50305 S. 1-94 Service Drive #3 Belleville, Michigan 48111. Telephone
   12    number (734) 957-3234. This contact information has been recently verified by
   13    me as accurate.
   14          3.       All future documents in this case will be served or sent to the address
   15    set forth in paragraph number 2 until changed by appropriate notice or substitution
   16    of attorney.
   17          4.       The future dates now set in this action are, as follows:
   18                   1.    Discovery Cut-off:                July 12, 2018;
   19
   20                   2.    Expert Witness Exchange:
   21                         Initial:                          June 26, 2018;
   22                         Rebuttal:                  July 16, 2018;
   23                         Cut-off                    August 6, 2018;
   24
   25                   3.    Motion Hearing Cut-off: August 27, 2018;
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   27                   4.    ADR Cut-off:                     September 11, 2018;
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                                          DECL. OF STEVEN H. HANEY
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     1                 5.    File Memo of
    2                        Contentions, etc.          October 16, 2018;
    3
    4                  6.    Lodge Pretrial Conference        October 23, 2018;
    5                        Order, etc.:
    6
    7                  7.    Final Pretrial Conference:       November 5, 2018;
    8
    9                 8.     Trial Date:                December 4, 2018.
   10
   11           5.    Any individual appearing pro se will be required to comply with the
   12    Court's standing orders, the Central District of California Local Rules, the Federal
   13    Rules of Civil Procedure, and all other Federal Rules.
   14          6.     Both Schmidt and Valentin have received their case file from my
   15    office. In the event that there is anything else either of them, or their subsequent
   16    counsel need from my firm, all that is needed is that they contact us at (213) 228-
   17    6500, or write us 1055 W. 7th Street, Suite 1950, Los Angeles, CA 90017.
   18          7.     Schmidt and Valentin should please take notice that:
   19          The Court may not provide advice to any party, including persons who are
   20    not represented by a lawyer. (Such persons are known as "pro se" litigants.
   21    However, the Central District of California does have "Pro Se Clinics" that can
   22    provide information and assistance about many aspects of dealing with a lawsuit in
   23    this Court. The Western Division (Los Angeles) Clinic is run by Public Counsel, a
   24    non-profit public interest law firm, and it is staffed by lawyers and a paralegal. In
   25    order to benefit from the assistance the Clinic may be able to provide, you have to
   26    go there directly. The Clinic is open on Mondays, Wednesdays, and Fridays, from
   27    9:30 a.m. to 12:00 noon and from 2:00 p.m. to 4:00 p.m. Clinic staff will see
   28    visitors during open hours on a first come, first served basis. If you arrive early in


                                       DECL. OF STEVEN H. HANEY
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    1   the day, you have a better chance of being seen promptly. The Clinic is located in
    2   Room g-19 on the Main Street Floor of the U.S. Courthouse at 312 N. Spring
    3   Street, Los Angeles, California 90012. Although the Clinic does not provide
    4   information telephonically, for further information about it you may call (213)
    5   385-2977 ext. 270.
    6         The Eastern Division (Riverside) Clinic is run by the Public Service Law
    7   Corporation and is open on Tuesdays and Thursdays from 10:00 a.m. to 2:00 p.m.
    8   The Clinic is located at the George R. Brown Federal Building, 3420 Twelfth
    9   Street, Room 125, Riverside, California 92501. For additional information call
   10   (951) 682-7968.
   11         The Southern Division (Santa Ana) Clinic is run by Public Law Center and
   12   is open on Thursdays from 10:00 a.m. to 12:00 noon and 1:30 p.m. to 3:30 p.m.
   13   The Clinic is located at the Ronald Reagan Federal Building and United States
   14   Courthouse, 411 W. 4th Street, Room 1055, Santa Ana, California 92701. For
   15   additional information call 714-541-1010.
   16         I declare under penalty of perjury under the laws of the United States of
   17   America that the foregoing is true and correct, and that this declaration was
   18   executed on this 20th day of February, 2018 at Los Angeles, California.
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   21                                                       Steven H. Haney
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                                     DECL. OF STEVEN H. HANEY
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 1                                           PROOF OF SERVICE
 2     I am employed in the County of Los Angeles, State of California. I am over the age of 18 and not
       a party to the within action. My business address is: 1055 West Seventh Street, Suite 1950, Los
 3     Angeles, California 90017. On February 21, 2018, I caused to be served the foregoing
       document described as DECLARATION OF STEVEN HANEYin this action by placing a true
 4     copy thereof enclosed in an envelope addressed as follows:

 5     Colt Legal Group
       Doug W. Colt
 6     1034 Emerald Bay Road, #443
       South Lake Tahoe, CA 96150
 7
           Tom Schmidt                                    Heather Valentin
 8
           4117 N. 45th Place, Apt. 4                     50305 S. I 94 Service Drive Apt 3
 9         Phoenix, AZ 85018                              Belleville MI 48111-2342

10

11     •        BY MAIL AS FOLLOWS: The envelope was mailed with postage thereon fully prepaid.
                I am "readily familiar" with the firm's practice of collection and processing
12              correspondence for mailing. Under that practice it would be deposited with the U.S.
                postal service on that same day with postage thereon fully prepaid at Los Angeles, Cali-
13              fornia, in the ordinary course of business. I am aware that on motion of the party served,
                service is presumed invalid if the postal cancellation date or postage meter date is more
14              than one day after service of deposit for mailing in affidavit.
15     ▪         BY PERSONAL SERVICE:: I caused such document to be hand-delivered to the offices
                 of the addressee.
16     ▪        BY ELECTRONIC MAIL: I caused such document to be delivered by electronic mail to
                the offices of the addressee.
17
                Executed on February 21, 2018 in Los Angeles, CA 90017
18
       •        (State)      I declare under penalty of perjury under the laws of the State of California
19                           that the above is true and correct.
       ▪        (Federal)    I declare that I am employed in the office of a member of the bar of this
20                           court at whose direction the service was made.
21

22
             Freddi Lindse                                        -=IA6 "4./4
23            Type or Print Name                                    Signature

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